        Case 1:21-cr-00059-SPW Document 23 Filed 10/08/21 Page 1 of 3



                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                              BILLINGS DIVISION


 UNITED STATES OF AMERICA,                      CR 21-59-BLG-SPW


                          Plaintiff,
                                                PRELIMINARY ORDER OF
           vs.                                  FORFEITURE


 BENITO CRAIG CASTRO,

                          Defendant.




      WHEREAS,in the indictment in the above case, the United States sought

forfeiture of any property ofthe above-captioned person, pursuant to 18 U.S.C.

§ 924(d), as property used or intended to be used to facilitate the violations alleged

in the indictment, or as proceeds of said violation;

      And whereas, on October 7, 2021,the defendant entered a plea of guilty to

the indictment, which charged him with prohibited person in possession of a

firearm and ammunition;

      And whereas, the indictment contained a forfeiture allegation that stated that

as a result ofthe offenses charged in the indictment, the defendant shall forfeit the

following property:

         • Glock, Model 43,9mm caliber pistol(SN: AFET590)
Case 1:21-cr-00059-SPW Document 23 Filed 10/08/21 Page 2 of 3
Case 1:21-cr-00059-SPW Document 23 Filed 10/08/21 Page 3 of 3
